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 4

 5
                       IN THE UNITED STATES DISTRICT COURT
 6
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                        ) Case No.: CR.S. 08-453 LKK
     United States of America,            )
 9                                        ) STIPULATION AND ORDER TO CONTINUE
                Plaintiff,                ) STATUS CONFERENCE
10                                        )
          vs.                             ) Court: Hon. Lawrence K. Karlton
11                                        ) Time:   9:15 a.m.
                                          ) Date:   February 3, 2009
12   Dean Tesky, et.al.,                  )
                                          )
13              Defendants.
14

15

16        Defendants Dean Tesky and Jess Brassier were charged in a two
17   count indictment alleging a conspiracy to manufacture over 100
18   marijuana plants and the manufacture of over 100 plants in violation
19   21 U.S.C. § 841(a)(1) and 846. A status conference was previously set
20   for December 16, 2008.      The parties are involved in defense
21   investigation, as well as negotiations and all parties request that
22   the current status conference be continued to February 3, 2009 at 9:15
23   a.m, and that date is available with the Court.
24        The parties agree that time should be excluded under 18 U.S.C. §
25   3161(h)(8)(i) for defense preparation and under local code T4.
26

27        ///
28        ///




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 1
     Dated: December 11, 2008           Respectfully submitted,
 2

 3

 4
                                       __/s/ Shari Rusk___
                                       Shari Rusk
 5                                     Attorney for Defendant
                                       Dean Tesky
 6

 7
                                        /s/ Tim Zindel
 8                                      Tim Zindel
                                        Attorney for Jess Brassier
 9

10
                                         /s/ Michael Beckwith
11                                      Michael Beckwith
                                        Assistant United States Attorney
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14
                                        ORDER
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          IT IS SO ORDERED.     The Court finds excludable time through
17
     February 3, 2009, based on Local Code T4, giving counsel reasonable
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     time to prepare.
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     DATED: December 11, 2008
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